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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 1:05cr40-SPM

JUAN JESUS GOMEZ,

           Defendant.
_________________________________/

                ORDER DISMISSING FORFEITURE PROCEEDING

       Upon consideration of the Government’s Motion to Dismiss Forfeiture

(doc. 427), it is

       ORDERED AND ADJUDGED:

       1.      The motion (doc. 427) is granted.

       2.      The forfeiture proceeding against the real property located at 1640

NW 19th Street, Homestead, Florida (more specifically described in Doc. 427,

Exhibit A) is dismissed.

       DONE AND ORDERED this 12th day of April, 2007.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
